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The following sections discuss and offer examples to illustrate the ways and the extent to which Lee
Memorial Health System/Cape Coral Hospital fell below acceptable standards of care.

A. Safe Environment of Care

From its negligence in hiring and failure in supervision of employees, to its inadequate response to an
allegation of sexual assault, Cape Coral Hospital demonstrated indifference and carelessness in protecting
the safety and well-being of its patients. ln so doing, it has fallen short of the accreditation standards of
DNV GL Healthcare and of its own policies and procedures.

The chief executive - -the person responsible for overseeing the development of a safe environment of
care, and representing the board in its governance of the hospital - - is ultimately responsible for the
consistent indifference demonstrated by Cape Coral Hospital employees to the safety and wellbeing of
patients. As a consequence, the chief executive may be said to be grossly negligent in the discharge of
the chief executive’s responsibilities

Cape Coral Hospital patients were denied their most basic right - - the provision of care in an environment
which is safe and free from abuse.

B. Hiring and Supervision of Employees

Cape Coral Hospital fell below the standard of care for hiring of Mr. Hechavarria in its failure to seek
appropriate references and perform an adequate background check.

Despite DNV GL Healthcare’s standards for employment, there has been no evidence presented that Cape
Coral Hospital made any inquiries which would have produced information regarding the “character” of
Mr. Hechavarria, either from references or past employers.

As a result of Cape Coral Hospital’s failure to perform an adequate background check on Mr.
Hechavarria, the hospital failed to detect that:

(a) Mr. Hechavarria had been the subject of restraining orders by the Charlotte County Court on
three separate occasions, dating back to May 24, 1999. These documents detail a long history of
physically violent behavior by Mr. Hechavarria, extending back to his period of Naval duty in
Virginia. The petitions for protective order include descriptions of Mr. Hechavarria threatening
his wife with a gun, physically assaulting her on multiple occasions, and punching and choking
their daughter. The Court orders in each case restrict Mr. Hechavarria from contact with his
children, as well as his wife.

(b) Mr. Hechavarria had been terminated by his previous employer Harbor Nissan on March 15,
2010 following two warnings for violation of company policies. There is no evidence that his
supervisor at Harbor Nissan was ever contacted by Cape Coral Hospital.

(c) Mr. Hechavarria had been discharged from the Navy due to misuse of prescription drugs and
was barred from future service. There is no evidence that any request was made for Mr.
Hechavarria’s military records or discharge papers.

ln addition, Mr. Hechavarria states in his deposition (pg. 48) that he held at least two jobs in the period of
time between his termination by Harbor Nissan and his hiring by G4S Security Solutions. There has been
no evidence produced to date that any supervisors at these places of employment were contacted by a
representative of Cape Coral / Lee Memorial Health System as part of a background check on Mr.

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Hechavarria ln fact, there appears to have been no request by Cape Coral / Lee Memorial that Mr.
Hechavarria explain the gap in employment between 2010 and 2012 (see Mr. Hechavarria’s employment
file, pg. 123).

lt appears that Cape Coral Hospital relied solely on the “Confidential Background Screening Report”
produced by “Sterling,” which lists only “G4S Secured Solutions” under employment verification (pg.
131 , Hechavarria employment file). Further, Sterling’s report indicates that the one reference pursued - -
G4S Secured Solutions - - provided only dates of employment, noting “The given company uses an
automated employment verification service. . .No further information is available.” (pg. 136, Hechavarria
employment file). ln essence, Cape Coral Hospital hired Mr. Hechavarria with no information from any
previous employer. No written employer references were requested or received. No documentation from
Mr. Hechavarria’S naval service was sought. Mr. Hechavarria’s representations regarding his work
experience were simply accepted as factual by Cape Coral Hospital, despite a significant gap in
employment and no Supporting documentation of any type by the applicant.

ln her deposition, Ms. Kristy Rigot, System Director, Recruitment and Retention, acknowledges that
reference checks of prospective employees are generally limited to confirming dates of employment and
acknowledges that they hired Mr. Hechavarria without information regarding his past conduct as an
employee. As a consequence, they were unaware of his disciplinary problems at former employer Harbor
Nissan, as well as his discharge from the Navy for serious misconduct.

lt is unclear how Cape Coral Hospital could have met the DNV GL Healthcare standards requiring the
assessment of “individual character, competence, training, experience and judgment. . .for the selection of
individuals working for the organization” with no letters of recommendation, no written references and no
verbal contact with previous employers

Even after the allegation of sexual assault made by Ms. Hammer, there is no evidence that Cape Coral /
Lee Memorial Health System pursued further background information regarding Mr. Hechavarria ln his
deposition, Mr. Hechavarria testifies that he had no contact with Human Resources following Ms.
Hammer’s accusation, knows of no additional investigation into his background and was not asked by
anyone at Cape Coral Hospital about any past criminal activity.

Lee Memorial Health System’s Policy and Procedure “Corrective Action Process” defines “Gross
Misconduct” as including “Acts of violence or threats of violence toward anyone on or off LMHS
premises” and is grounds for termination of employment without progression through the formal levels of
corrective action. Yet Mr. Hechavarria was actively involved in a domestic violence court case while he
was employed by Cape Coral Hospital. On March 10, 2015, a temporary protective order by the
Charlotte County Court banned l\/lr. Hechavarria from contact with his wife and children. Six days later,
March 16, 2015, patient Brianna Hammer informed the Cape Coral Hospital staff that Mr. Hechavarria
had sexually assaulted her.

Cape Coral Hospital’s Risk Manager, Ms. Debra Wiles, appeared to be ignorant of both the DNV GL
Healthcare standards and her own institution’s policies when she stated in her deposition that knowledge
of a prospective employee’s arrest record was not important and that she would only want to know “lf
they had a conviction.” (pg. 30, Wiles’ first deposition). ln her deposition, Ms. Rigot of Human
Resources acknowledges that the corrective action policy defines gross misconduct as including acts or
threats of violence on or off LMHS premises and allows for termination of the employee, but states, “we
would apply this if there was a conviction. . .l’m telling you what the practice is.” (pg. 89, Rigot
deposition). She also acknowledges that Lee Memorial Health System’s policies call for an investigation
by a threat assessment team if an employee is arrested for a violent act, but denies this applied to Mr.

 

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Hechavarria’s arrest for battery and states that she was unaware of his arrest (pgs. 7 8-7 9 Rigot
deposition).

ln his deposition, Mr. Hechavarria represented that he was unaware of any Lee Memorial Health System
policy which would compel him to inform his supervisor of an arrest or criminal charges (pg. 80). He
added that he ultimately informed his superior of his arrest for assault and battery (in July of 2016) only
because of concern regarding his own employment security: “l did because l feared my employment,
yes” (pg. 80). His supervisor, Ms. Colleen Labeid (sp) was apparently unaware of Lee Memorial Health
System’s “Corrective Action Process” policy or the institution’s definition of “Gross l\/lisconduct,” as Mr.
Hechavarria faced no disciplinary action following this disclosure ln fact, in his deposition Mr.
Hechavarria describes her response as “emotional and concerned. . .she tried to console me. . .it was a
rough moment for me.” (pg. 81). ln his deposition, System lnvestigator Rafael Ortiz testifies that if he
had been told of Hechavarria’s arrest after he (Hechavarria) reported it to his supervisor, he (Ortiz) would
most likely have performed a Clerk of Court background check on Hechavarria (pg. 56 Ortiz deposition).
However, after Ms. Hammer’s allegations Mr. Ortiz did not perform a background check on Mr.
Hechavarria because he assumed the police would do this

C. Response to Allegations ofSexu al Assault

Despite DNV GL Healthcare’s standards regarding the provision of a safe environment of care, Lee
Memorial Health System’s policies and procedures were insufficient regarding investigation, discipline
and supervision of staff in response to allegations of assaultive behavior. Patient protections were further
eroded by hospital staff members’ ignorance of and/or failure to follow the relevant policies and
procedures Lee Memorial Health System Policy “Violence in the Workplace” calls for a prompt
investigation in response to reports of threats or actual violent activity. Security Officer Sherwood, who
interviewed both Ms. Hammer and Ms. Goines, had no training in sexual assault and testified that he was
unaware of any Cape Coral Hospital policies regarding prevention or investigation of violent crimes, and
denied ever receiving any such policies (pg. 15, Sherwood deposition). System lnvestigator Rafael Oitiz,
in his deposition, acknowledges that he had minimal prior experience or education in investigating sex
crimes: “a webinar. . .here or there” and no training in interviewing sexual assault victims (pg. 28, Ortiz
deposition). He did not become involved in the Hammer matter, noting it “was handled by Risk
Management.” (pg. 46, Ortiz deposition).

Lee Health System Policy & Procedure “ldentification and Reporting of Alleged or Suspected Abuse,
Neglect, or Exploitation or Vulnerable Adults,” states that “assessinents [of suspected abuse] should be
conducted in accordance with the System’s responsibility for collecting, retaining, and safeguarding of
evidence.” Security Officer Sherwood testifies that he did not (and still does not) believe Ms. Hammer,
and acknowledges that he made no effort to preserve evidence at the crime scene, despite Ms. Hammer’s
request ln her deposition, when asked who is responsible for preserving evidence, Risk Manager Pam
Palmerton replies, “l don’t know. Security, l am assuming.” (pg. 41).

Despite the hospital’s policies regarding treatment of potential victims of sexual assault, the hospital
failed to respond to phone calls from the patient’s mother and boyfriend regarding her assault. ln fact, the
hospital’s first contact with the police the night of the allegation by Ms. Hammer was not to request
assistance for Ms. Hammer, but rather to report her boyfriend for “harassing” the hospital operator. Only
later were the police contacted regarding Ms. Hammer’s complaint The hospital then conducted a
background check on the patient’s boyfriend.

The hospital reported to the Department of Health that they had performed an investigation, the report
having been made within 24 hours of the allegation. Ms. Palmerton, Risk Manager, sent a "form letter"
notification on March 18, 2015 which read "LMHS conducted an investigation into the allegations against

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Mr. Hechavarria, and we were unable to validate Ms. Hammer's claim." (Palmerton deposition, pg. 122).
Yet, Mr. Hechavarria’s colleagues were never interviewed Staff members were instructed not to speak
about the incident so as not to risk harming Mr. Hechavarria’s reputation. lt is unclear what, if anything
constituted this “investigation” by the hospital. lt did not include any effort to contact area police
departments (in his county of residence, for example) to see if Mr. Hechavarria had any history of arrests
or restraining orders ln her deposition, Risk Manager Pam Palmerton acknowledges that her
“investigation” did not include review of Mr. Hechavarria’s personnel file or a background check,
indicating that this would be done by “either HR or security. l’m not really sure.” (pg. 39). Ms.
Palmerton also acknowledges that she cannot identify the head of the Human Resources department

Ms. Palmerton denies that the hospital should have obtained the Police Department’s report prior to
advising the Department of Health that they had concluded the allegations could not be substantiated:
"We didn't make a determination. We just didn't believe that she was being truthful." (Palmerton
Deposition, pg. 131). She also defends her decision to not interview Mr. Hechavarria’s coworkers due to
concerns that this “taints other people’s impressions of that nurse. . .” (pg.109).

Lee Health System’S own website defines rape as “a sexual act forced on a person against his or her will.”
lt further indicates that “Victims of rape should be helped to understand that what happened was not their
fault," however Ms. Palmerton, in her deposition, acknowledges that she does not recall telling either Ms.
Hammer or Ms. Goines this

Cape Coral Hospital allowed Mr. Hechavarria to return to work within ten days following Ms. Hammer’s
allegation, long before the legal process had been concluded He was allowed to return to work before
Ms. Hammer had even been interviewed by Detective l\/lontesino-Mena, and before Mr. Hechavarria had
presented himself for an interview with the Detective.

Lee Memorial Health System’s Policy “Correction Action Process” defines “crisis leave” and further
reads “An investigation of the situation will be conducted immediately The events leading up to the
crisis leave are documented . .” There has been no evidence presented thus far that any investigation of

the allegations which led to Mr. Hechavarria s crisis leave” took place, much less that the investigation
was documented or any results acted upon.

ln her deposition, Risk Manager Debra Wiles testifies that she is unaware of any committee (grievance or
other) which would investigate an allegation of sexual assault, and that the Risk Manager (in this case
Pam Palmerton) is authorized to make the final determination regarding the validity of an assault claim
(pg. 37-38, Wiles second deposition).

ln his deposition, Mr. Hechavarria states that following Ms, Hammer’s allegations he underwent no
additional education regarding policies and procedures was not interviewed by System lnvestigator Mr.
Ortiz (pg. 125), and was unaware of any grievance committee investigation (pgs. 121-122). Both Ms.
Rigot and Ms. Wiles acknowledge in their depositions that Lee Memorial Health System has no policies
which would call for additional background investigation, supervision, re-education or discipline of a
staff member accused of assaulting a patient. Wiles further testifies that new employees are told of a
policy on sexual assault and are encouraged to access it on the health system’s intranet, but that there is
no mechanism in place to determine whether or not an employee has in fact read the organization’s
policy.

Further, despite DNV GL Healthcare standards which call for written response as part of the hospital’s

grievance process neither patient received written response to their complaints and there has been no
evidence presented to date of any investigation by the hospital into Ms. Hammer’s allegations Ms.

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Sharon Zeller, l\/lr. Hechavarria’s direct supervisor on 2 East, testifies in her deposition that she was
unaware of an internal grievance committee or process (pg. 48).

Perhaps most significantly, once Mr. Hechavarria returned to work from “crisis leave” no precautions
were taken to protect patients This appears to be in direct violation of the Lee Memorial Health System’s
policy “Sexual Abuse Prevention and Reporting Risk Management,” which states that “Patients in the Lee
Memorial Health System shall be protected from sexual abuse to the greatest extent reasonably possible,
in accordance with statutory requirements,” Cape Coral Hospital, specifically its nursing leadership,
subsequently failed to protect patients by neglecting to provide adequate and appropriate supervision of
Mr. Hechavarria following Ms. Hammer’s allegation of assault.

An excerpt from the “Employee Relations Database” shows that Cape Coral / Lee Memorial missed or
avoided every opportunity to protect its patients ln a report “opened” on 3-17-2015 and “closed” on 3-
20-2015, a recommendation was considered to move Mr. Hechavarria to the day shift, to monitor him,
and to document this on his employee performance record

ln the same document, an excerpt dated 7-18-2016 recommended that Mr. Hechavarria be kept off work
until the Cape Coral Police Department had concluded its investigation

No action was taken on these recommendations Mr. Hechavarria was not assigned to care for only male
patients or required to have a female staff person with him when examining female patients or
transferred to a day shift where the presence of a greater number of hospital personnel, medical staff and
visitors would have limited Mr. Hechavarria’s predatory opportunities lndeed, the hospital seemed far
more concerned about protecting Mr. Hechavarria than the patients he is accused of assaulting.

Summary:

Cape Coral Hospital fell below industry standards including the requirements DNV GL Healthcare, in its
failure to provide a safe environment of patient care; its negligence in hiring and supervision of
employees; and its inadequate response to allegations of sexual assault. Cape Coral / Lee Memorial
demonstrated carelessness and indifference to patient safety.

As a result of Cape Coral Hospital’s negligence in these areas, Brianna Hamer and Donia Goines
sustained unnecessary trauma, injury and suffering l reserve the right to amend this opinion, should
additional information become available. All the opinions set forth herein are to a reasonable degree of
administrative and professional certainty.

Very truly yours,

€/r/~///""

Fred Hyde, MD

Attachments: Four exhibits

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